     2:21-cv-02352-RMG         Date Filed 03/15/21   Entry Number 1      Page 1 of 44




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SHERRY LYNN VILLARREAL,             §
    Plaintiff,                      §
                                    §
VS.                                 §                   CIVIL NO. _________
                                    §
INTERCONTINENTAL TERMINALS          §                   JURY TRIAL DEMANDED
COMPANY, LLC, JOHNSON CONTROLS §
INC., TYCO FIRE PRODUCTS, LP, THE   §
ANSUL COMPANY, CHEMGUARD, INC., §
NATIONAL FOAM, INC., KIDDE-FENWAL, §
INC., KIDDE FIRE FIGHTING, INC., US §
PUMP COMPANY, LLC, WILLIAMS FIRE §
& HAZARD CONTROL, NSK LIMITED,      §
NSK CORPORATION, NSK PRECISION      §
AMERICA, INC., NSK-AKS PRECISION    §
BALL COMPANY, and APPLIED           §
INDUSTRIAL TECHNOLOGIES, INC.,      §
       Defendants.                  §

                          PLAINTIFF’S ORIGINAL COMPLAINT

       1.     Plaintiff Sherry Lynn Villarreal (“Plaintiff”) brings this case against

Intercontinental Terminals Company LLC (“ITC”), Johnson Controls Inc., Tyco Fire

Products, LP, The Ansul Company, Chemguard, Inc., National Foam, Inc., Kidde-Fenwal,

Inc., Kidde Fire Fighting, Inc., US Pump Company, LLC, Williams Fire & Hazard Control,

NSK Limited, NSK Corporation, NSK Precision America, Inc., NSK-AKS Precision Ball

Company, Applied Industrial Technologies, Inc. (collectively “Defendants”) arising out of

a fire at ITC’s tank yard in Deer Park, Texas during the morning of March 17, 2019. The

tank fire at ITC’s facility burned for days while churning out massive plumes of toxic smoke

across the communities of Harris County. First responders struggled to contain the fire and

ITC’s own actions and inactions caused an increase in the fire’s severity. The fire caused

injury and damages to Plaintiff.
      2:21-cv-02352-RMG       Date Filed 03/15/21     Entry Number 1      Page 2 of 44




       2.     During the fire, industrial firefighting foam was used in an attempt to

suppress the fire. The foam that was used contained Per- and Polyfluoroalkyl substances

(hereinafter "PFAS"). PFAS is a group of manmade chemicals that have been known to

ca use      adverse         health        outcomes           in     humans.          (See

https://www.epa.gov/pfas/basic-information-pfas). PFAS can cause reproductive and

developmental, liver and kidney, and immunological effects. (See id.). PFAS chemicals

can accumulate in the body and stay in humans for long periods of time. (See id.). For

that reason, PFAS chemicals have been called the "Forever Chemicals." (See

https://www.forbes.com/sites/brucelee/2020/01/23/what-is-in-your-drinking-water-how-

about-pfas-forever-chemicals-report-warns/?sh=688650459065 ).         While    battling   the

growing fire, Plaintiff alleges she was probably exposed to PFAS and suffered injuries as

a result.

       3.     Defendants Johnson Controls International PLC, Tyco Fire Products, LP,

The Ansul Company, Chemguard, Inc., National Foam, Inc., Kidde-Fenwal, Inc., Kidde Fire

Fighting, Inc., US Pump Company, LLC, and Williams Fire & Hazard Control manufactured, sold,

and distributed the firefighting foam used during the ITC fire despite their knowledge and

awareness that the inclusion of PFAS in the foam presented an unreasonable risk to

human health and the environment and was inherently dangerous. These entities are

collectively referred to as the “Foam Defendants.” The Foam Defendants marketed and

sold their products with knowledge that the firefighting foam it sold contained PFAS,

including PFOA and PFOS, and that such chemicals were dangerous and harmful to

others. The Foam Defendants failed in their duty to manufacture a product that would not



                                                                                      Page 2
      2:21-cv-02352-RMG        Date Filed 03/15/21      Entry Number 1       Page 3 of 44




cause widespread harm and in their duty to warn their customers of the inherently

dangerous properties of their firefighting foam.

                              JURISDICTION AND VENUE

        4.    This Court has original jurisdiction over Plaintiffs’ claims pursuant to

Diversity and Ancillary Jurisdiction. The matter in controversy, exclusive of interest and

costs, exceeds the sum or value of $75,000,000.

        5.    This Court has personal jurisdiction over Defendants, ITC, NSK Corp., NSK

Precision, NSK-AKS, Applied, Johnson Controls, Inc., Tyco Fire Products, LP, The

Ansul Company, Williams Fire & Hazard Control, Kidde-Fire Fighting, Inc., Kidde-Fenwal,

Inc., National Foam, Inc., and US Pump Company, LLC because they have purposefully

availed themselves of the privileges of conducting activities in the state of Texas and

established minimum contacts sufficient to confer jurisdiction. Said Defendants do business

in Texas, advertise in Texas, markets to Texas consumers, and the violations of the law

forming the basis of this lawsuit occurred in Texas. Therefore, the assumption of

jurisdiction over said Defendants will not offend traditional notions of fair play and

substantial justice and is consistent with the constitutional requirements of due process.

Said Defendants also had and continue to have continuous and systematic contacts with

the State of Texas sufficient to establish general jurisdiction over them.

        6.    Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because a substantial

part of the acts or omissions giving rise the claims in this Complaint took place in this

district.




                                                                                          Page 3
     2:21-cv-02352-RMG        Date Filed 03/15/21     Entry Number 1       Page 4 of 44




                                         PARTIES

       7.     Plaintiff Sherry Lynn Villarreal is a resident of southeast Houston, Harris

County, Texas. During the relevant time period, Plaintiff Villarreal resided at 10603

Southdown Trace Trail, Houston, Texas 77034.

       8.     Defendant Intercontinental Terminals Company, LLC, is a limited liability

company authorized to conduct business in the State of Texas. ITC’s sole member, Mitsui

U.S.A., is a New York Corporation with its principal place of business in New York. ITC

operates a facility in Harris County, Texas (the “ITC Facility”). ITC maintains a corporate

office at 1021 Main Street, Suite 1150, Houston, Texas 77002-6508. Said Defendant may

be served with process by and through its registered agent for service of process CT

Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas 75201-3136.

       9.     Defendant NSK Corporation (“NSK Corp.”) is a foreign corporation located at 4200

Goss Road, Ann Arbor, Michigan 48105. NSK Corp. is incorporated under the laws of the

State of Delaware, has its principal place of business in Michigan, and is authorized to

conduct business in the State of Texas. NSK Corp. may be served through its registered

agent, Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company

at 211 E. 7th Street, Suite 620, Austin, Texas 78701.

       10.    Defendant NSK Precision America, Inc. (“NSK Precision”) is a foreign

corporation incorporated under the laws of the State of Delaware with its principal place

of business at 3450 Bearing Drive, Franklin, IN 46131. NSK Precision can be served with

process through its registered agent for service of process the Corporation Service

Company, 251 Little Falls Drive, Wilmington, DE 19808.



                                                                                       Page 4
     2:21-cv-02352-RMG       Date Filed 03/15/21     Entry Number 1     Page 5 of 44




       11.    Defendant SK-AKS Precision Ball Company (“NSK-AKS”) is a foreign

corporation located at 1100 N. 1st Street, Clarinda, Iowa 51632. NSK-AKS is a Delaware

corporation with its principal place of business in the State of Iowa. NSK-AKS may be

served process through its registered agent the Corporation Service Company, 251 Little

Falls Drive, Wilmington, DE 19808.

       12.    NSK Corp., NSK Precision, and NSK-AKS shall be collectively referred to

as the "NSK Defendants."

       13.    Defendant Applied Technologies, Inc. (“Applied”) is a foreign corporation

that is authorized to conduct business in the State of Texas. It may be served through its

registered agent, Cogency Global, Inc., at 1601 Elm Street, Suite 4360, Dallas, Texas

75201.

       14.    Defendant Johnson Controls, Inc. is a Wisconsin corporation authorized to

conduct business in the State of Texas. Said Defendant may be served with process by

and through its registered agent for service of process CT Corporation at 1999 Bryan

Street, Suite 900, Dallas, TX 75201.

       15.    Defendant Tyco Fire Products, LP is a Delaware company authorized to

conduct business in the State of Texas. Said Defendant may be served with process

by and through its registered agent for service of process CT Corporation at 1999

Bryan Street, Suite 900, Dallas, TX 75201.

       16.    Defendant The Ansul Company is a company that was purchased and is

owned by Defendant Tyco Fire Products, LP. Defendant Tyco manufactures the Ansul

brand of products and is the successor-in-interest to the company formerly known as The

Ansul Company. Said Defendant may be served with process by and through its

                                                                                    Page 5
     2:21-cv-02352-RMG         Date Filed 03/15/21   Entry Number 1    Page 6 of 44




registered agent for service of process CT Corporation at 1999 Bryan Street, Suite 900,

Dallas, TX 75201.

      17.    Defendant Williams Fire & Hazard Control is a company that was purchased

and is owned by Defendant Tyco Fire Products, LP. Defendant Tyco manufactures the

Williams Fire & Hazard Control brand of products and is the successor-in-interest to the

company formerly known as Williams Fire & Hazard Control. Said Defendant may be

served with process by and through its registered agent for service of process CT

Corporation at 1999 Bryan Street, Suite 900, Dallas, TX 75201.

      18.    Defendant Chemguard, Inc. is a Texas corporation. Said Defendant may

be served with process by and through its registered agent for service of process CT

Corporation at 1999 Bryan Street, Suite 900, Dallas, TX 75201.

      19.    Defendant Kidde-Fire Fighting, Inc. is a Pennsylvania corporation

authorized to c o nd uc t business in the State of Texas. Said Defendant may be served

with process by and through its registered agent for service of process CT Corporation at

1999 Bryan Street, Suite 900, Dallas, TX 75201.

      20.    Defendant Kidde-Fenwal, Inc. is a Delaware corporation authorized to

conduct business in the State of Texas. Said Defendant is the successor-in-interest to

Kidde Fire Fighting, Inc. Defendant Kidde-Fenwal, Inc. may be served with process by and

through its registered agent for service of process CT Corporation at 1999 Bryan Street,

Suite 900, Dallas, TX 75201.

      21.    Defendant National Foam, Inc. is a Delaware corporation authorized to

conduct business in the State of Texas. Said Defendant may be served with process by



                                                                                   Page 6
     2:21-cv-02352-RMG         Date Filed 03/15/21   Entry Number 1    Page 7 of 44




and through its registered agent for service of process CT Corporation at 1999 Bryan

Street, Suite 900, Dallas, TX 75201.

       22.       Defendant US Pump Company, LLC is a Delaware company authorized to

conduct business in the State of Texas. Said Defendant may be served with process by

and through its registered agent for service of process CT Corporation at 1999 Bryan

Street, Suite 900, Dallas, TX 75201.

       23.       Upon information and belief, Defendant Johnson Controls, Inc. owns,

operates, and controls Defendants Tyco Fire Products, LP and Chemguard, Inc. At all

relevant times, Defendants Tyco Fire Products, LP and Chemguard, Inc. manufactured,

marketed, promoted, distributed, and/or sold Aqueous Fire Fighting Foam that contained

PFAS chemicals, such as PFOA, PFOS, and other toxic substances that were used

during the ITC fire. Upon information and belief, these chemicals were manufactured,

marketed, promoted, distributed and/or sold at the direction of Defendant Johnson

Controls, Inc.

                                FACTUAL BACKGROUND

Health Effects of PFAS

       24.       PFAS are chemical compounds containing fluorine and carbon atoms.

These substances have been used for decades in the manufacture of, among other

things, household and commercial products that resist heat, stains, oil, and water. These

substances are not naturally occurring and must be manufactured.

       25.       PFAS chemicals have unique properties that cause them to be: (i) mobile

and persistent, meaning that they readily spread into the environment where they break



                                                                                   Page 7
     2:21-cv-02352-RMG         Date Filed 03/15/21   Entry Number 1      Page 8 of 44




down very slowly, (ii) tend to accumulate in organisms, and (3) are toxic such that they

pose serious health risks to humans.

       26.      PFAS chemicals are characterized by the presence of multiple carbon-

fluorine bonds, which are exceptionally strong and stable. As a result, they resist

degradation due to light, water, and aging.

       27.      These chemicals accumulate in the human body over time. Because of

their stability, any newly ingested PFAS chemicals will be added to any such existing

chemicals already present in the body. These chemicals remain in the body for years.

       28.      The chemical structure of PFAS substances make them resistant to

breakdown or environmental degradation. As a result, they are persistent when released

and ingested.

       29.      Exposure to PFAS chemicals, including PFOA and PFOS, can be toxic and

pose serious health risks to humans.

       30.      Many parties have studied the effects of PFAS, including PFOA and PFOS,

and have concluded that exposure to such chemicals is associated with the development

of numerous serious medical conditions. These chemicals were the subject of a study

formed out of a class action settlement arising out of water contamination from DuPont’s

Washington Works facility in Wood County, West Virginia.

       31.      The science panel involved in that case consisted of three epidemiologists

specifically tasked with determining whether there was a link between PFAS exposure and

human diseases. In 2012, the panel found a probable link between PFAS, including PFOA

and PFOS, and kidney cancer, testicular cancer, ulcerative colitis, thyroid disease,



                                                                                    Page 8
      2:21-cv-02352-RMG            Date Filed 03/15/21       Entry Number 1         Page 9 of 44




pregnancy induced hypertension (including preeclampsia), and hypercholesterolemia.

        32.     In May 2015, based on concerns about these chemicals being released

into the environment, scientists and other professionals from a variety of disciplines

issued the “Madrid Statement on Poly-and Perfluoroalkyl Substances (PFASs),” a policy

statement calling for greater regulations, restrictions, and limits on the manufacture and

handling of any such chemicals as well as the development of safe, non-fluorinated

alternatives to these products to avoid long-term harm to human health and the

environment.

        33.     In May 2016, the United States Environmental Protection Agency issued

Lifetime Health Advisories against exposures to PFAS chemicals PFOA and PFOS.

Background of ITC Fire

        34.     ITC operates a storage facility in the petrochemical industry. ITC owns

and operates two terminals for its business in the Houston area. As its website stated,

“[t]he ITC Deer Park terminal started in 1972 and currently has 13.1 million barrels (2.2

million cbm) of capacity in 242 tanks. It stores all kinds of petrochemical liquids and gases, as

well as fueloil, bunker oiland distillates. The terminalhas five ship docks and ten barge docks, rail and

truck access, as well as multiple pipeline connections." (See https://www.iterm.com/).

        35.     ITC stores various hazardous chemicals in a “tank farm” located on its

premises. The tanks located within the farm are 80,000-barrel tanks. A barrel contains 42

gallons and thus, each tank contains 3,360,000 gallons of hazardous chemicals. These

tanks are approximately 120 feet tall and 40 feet in diameter. The tank farm itself is

328,000 square feet and contains 15 tanks.



                                                                                                  Page 9
     2:21-cv-02352-RMG           Date Filed 03/15/21       Entry Number 1        Page 10 of 44




       36.     Although ITC stores numerous hazardous chemicals in large, building size tanks,

ITC did not have an automatic fire alarm system in its tank farm. ITC did have a fire monitor,

however, this monitor was not properly maintained by ITC and malfunctioned on the day the fire

first started. (See Exhibit “1”1 – Harris County Fire Marshal’s Report at page 85).

       37.     In addition, each tank contains a motor and set of pipes that are used to pump

products in and out of the tanks. This is known as the “manifold power frame.”


       1
         For the sake of brevity and to avoid unnecessary duplication, Exhibits 1, 2, 3,
and 4 referenced herein are the same numbered exhibits found in Cause No. 4:21-cv-
00273, a class action lawsuit filed January 27, 2021 in this Houston Division styled
Steven Brett Ogden and Brandon Michael Martin, et al v. Interncontinental Terminals
Company, LLC, et al (Dkt. 1). And, as is readily observable, Plaintiff Villarreal's instant
pleadings are taken much from that complaint, her counsel acknowledging substantial
involvement and discovery efforts of/for the named and class Plaintiffs over 1 1/2 years
in that case by Plaintff's counsel.


                                                                                          Page 10
    2:21-cv-02352-RMG           Date Filed 03/15/21     Entry Number 1        Page 11 of 44




       38.    This lawsuit arises out of a fire in ITC’s tank yard during the morning of March 17,

2019 at ITC’s Deer Park terminal when the manifold power frame in tank 80-8 suffered

a mechanical failure due to lack of maintenance. (See id. at page 88.) This mechanical

failure caused a leak and subsequent ignition of the fire. (See id.; see also Exhibit “2” –

Bureau of Alcohol, Tobacco, Firearms and Explosives Cause and Origin Report at page

21 stating: “A failure occurred within the manifold power frame, somewhere between the

electric motor and the impeller of the pump. This failure resulted in the release of

Naphtha.”).

       39.    For approximately 30 minutes prior to the fire’s ignition, roughly 9,000

gallons of Naphtha and Butane were released from the 80-8 tank. ITC did not have

adequate release detection systems and failed to detect the 9,000 gallon release prior to

the fire ignition. (See Exhibit “1” – Harris County Fire Marshal’s Report at page 86).

       40.    In particular, at approximately 10:00 am on March 17, 2019, the fire started

at tank 80-8 after employees of ITC heard a loud noise like “rail cars coupling.” (See Ex.

“1” at page 87). Another employee heard a “loud pop” and almost instantly saw the fire.

(Ex. “2” at page 5). Tank 80-8 contained approximately 75,000 barrels of the chemical

Naphtha. After tank 80-8 caught fire, the fire quickly spread throughout the tank farm and

other tanks within the farm containing Toluene, Gas Blend, Xylene, Pyrolosis Gasoline,

and base oils caught on fire.




                                                                                         Page 11
     2:21-cv-02352-RMG        Date Filed 03/15/21   Entry Number 1     Page 12 of 44




        41.     Ten of the 15 tanks in the farm were soon consumed by the flames of the

fire. This fire sent massive plumes of black toxic fumes and smoke over and into the

communities of southeast Texas, including the southeast Houston area in which Plaintiff

resided. A shelter in place order was issued for the City of Deer Park on March 17, 2019

as a result of the fire.

        42.     This massive cloud of smoke contained dangerous chemicals, ash, and

fumes, which spread into the Deer Park, Pasadena, Sheldon, Channelview, Galena Park,

Jacinto City and neighboring communities within southeast Houston, to include Plaintiff's

residence area.




                                                                                 Page 12
    2:21-cv-02352-RMG        Date Filed 03/15/21       Entry Number 1   Page 13 of 44




       43.    ITCs’ tanks burned for three days while churning out the massive plumes of

smoke until the fire was extinguished for several hours on March 20, 2019. To contain the

fire, firefighting foam and water were applied to all tanks. The foam that was used to try

to suppress the fire included, but was not limited to, Ansulite 3% AFFF which contained

Polyfluorinated alkyl betaine -- a type of PFAS chemical. Additionally, Thunderstorm

W813A 1X3 AR-AFFF was used as well. This foam included Polyfluorinated alkyl

polyamide, Polyfluorinated alkyl betaine, and Polyfluorinated alkyl quaternary amine

chloride – all of which are types of PFAS chemicals.

       44.    Although it was believed that this fire was extinguished, at approximately

5:49 p.m. on March 20, tanks 80-5 and 80-8 reignited. The fire was tampered down later

that day. However, the fire again reignited on March 21st, when at approximately 3:40 pm

three tanks reignited. The fire spread from the containment area through the breached


                                                                                  Page 13
     2:21-cv-02352-RMG         Date Filed 03/15/21     Entry Number 1       Page 14 of 44




containment wall into the ditch on Tidal Road. Elevated Benzene levels were detected on

March 21. This blaze grew stronger and the following day, March 22, 2019, the Pasadena,

La Porte, and Deer Park school districts cancelled classes for there was a concern that

elevated Benzene levels would continue from the fire. (See Exhibit “3” – EPA Pollution

Situation Report at page Munoz 38986). The fire continued to burn until March 23, 2019.

       45.     Throuhout the entire fire and for days after the fire concluded, foam was used to

suppress the fire and prevent re-ignition. (See id.) The following is a picture of the tank

farm following the fire.




                                                                                        Page 14
     2:21-cv-02352-RMG        Date Filed 03/15/21      Entry Number 1       Page 15 of 44




       46.    ITC engaged in numerous negligent acts and omissions. For example, ITC

failed to properly maintain and monitor their tanks. Indeed, ITC failed to maintain the

mechanical motor in tank 80-8 causing it to fail and start the fire. ITC also failed to install

a sufficient fire control system which would have prevented the fire from spreading to

multiple tanks in the farm. As a result of ITC’s conduct, fires were started on its premises

which released numerous chemicals into the air including; PFAs, Naphtha, Xylene,

Touene, and Benzene. Plaintiff was probalby exposed to these harmful chemicals.

       47.    ITC’s post-incident investigation revealed that, on December 4, 2018, ITC

employees noticed that the Tank 80-8 pump was “unusually loud.” A subsequent

inspection of the pump determined that it was in need of new bearings. The pump was

disassembled, and ITC’s millwrights installed new NSK Model 5313 outboard bearings and

NSK Model 6313 inboard bearings to support the pump’s shaft. The remainder of the

pump was then reassembled and placed into operation on the Tank 80-8 manifold.

       48.    It was determined that on March 17, 2019, the NSK 5313 outboard bearing

failed, causing vibrations within the impeller shaft that were directly transmitted to the

mechanical shaft seal. This vibration loosened the bolted connections holding the

mechanical shaft seal in place. Once the seal broke, the Naphtha escaped into the area

around the Tank 80-8 pump, where it ignited and caused the incident.

       49.    When the Tank 80-8 pump was disassembled to determine the cause of the

incident, investigators observed that the outboard bearing (constructed using NSK 5313

bearings) had come apart, resulting in loose bearing balls and ball remnants in the bearing

house, meaning that at the time of the incident the outboard bearing was no longer


                                                                                       Page 15
     2:21-cv-02352-RMG         Date Filed 03/15/21     Entry Number 1       Page 16 of 44




capable of supporting the mechanical shaft centered in the bearing house. Most of these

balls were severely deformed and/or fragmented.

       50.     A subsequent metallurgical examination revealed that the Model 5313

outward bearings contained unexplained internal voids, meaning they were not as durable as

solid-core ball bearings and were more likely to fail. By contrast, the NSK 6313 inward bearings

examined from the incident were solid throughout as demonstrated by the below

diagrams:

   Cross Section of Nominally Intact NSK 5313 Ball Bearing from The Incident:




   Cross Section of Nominally Intact NSK 6313 Ball Bearing from The Incident:




                                                                                        Page 16
     2:21-cv-02352-RMG           Date Filed 03/15/21       Entry Number 1         Page 17 of 44




    51.     Upon information and belief, the design and specifications for the Model 5313 ball

bearings did not call for internal voids, but instead called for solid core ball bearings. The internal

voids were therefore a deviation from the intended specifications. The NSK Defendants designed

and manufactured the Model 5313 ball bearings.

    52.     The Model 5313 ball bearings were sold to ITC by Defendant Applied.

PFAS Exposure

    53.     As noted herein, foam containing PFAS chemicals were used to suppress the

fire as soon as the fire started. This foam was used from March 17, 2019 to at least April

7, 2019 (See Exhibit “3”; Exhibit “4” – Timeline of Events). ITC supplied the foam that

was used to suppress the fire. This foam was dangerous and harmful to all those

individuals exposed to same.

    54 .    As noted above, PFAS is a manmade, manufactured chemical not found in

nature that belongs to a group of fluorine-containing chemicals called perfluorinated

chemicals (PFCs). These chemicals were and are used to make commercial products that

resist heat and chemical reactions, and repel oil, stains, grease, and water.

    55.     PFAS chemicals are readily absorbed after consumption or inhalation, and

they accumulate primarily in the blood stream, kidney and liver.

    56.     In fact, for over 50 years, PFAS chemicals have been known to be dangerous

and harmful to humans as these chemicals can build up in blood over time to cause

lethal effects on the body.

    57.     Numerous studies have been conducted over the years describing the

harmful effects of PFAS. Indeed, by the 1960s, animal studies performed by 3M and

DuPont revealed that PFAS chemicals could pose significant health risks. First, in 1950,

                                                                                              Page 17
     2:21-cv-02352-RMG        Date Filed 03/15/21   Entry Number 1      Page 18 of 44




a study was conducted by 3M on mice which revealed that PFAS builds up in blood. In

1956, Stanford University conducted a study which found that PFAS binds to proteins in

human blood. In 1961, DuPont toxicologists warn that PFAS chemicals enlarge rat and

rabbit livers. In 1962, volunteers who smoke PFAS- laced cigarettes contract “polymer

fume fever.” The following year, a 3M technical manual deems PFAS toxic.

    58.    The following timeline of events establishes that PFAS is harmful and causes

sever health risks:

    a.     1965 – DuPont rat study shows liver damage and increased spleen size.

    b.     1966 – 3M study finds that PFAS causes “acute oral toxicity” in rats.

    c.     1970 – 3M warns Fire Journal, the magazine of the National Fire Protection

Association, that PFAS is toxic to fish.

    d.     1970 – DuPont scientists determine that PFAS is “highly toxic when inhaled.”

    e.     In or about 1977, Defendant Ansul was also aware of the environmental and

toxic concerns of its Aqueous Fire Fighting Foam and undertook a study and investigation

on more environmentally improved versions of the product.

    f.     1978 – 3M animal tests find lesions on spleen, lymph nodes and bone marrow.

    g.     1981 – 3M and DuPont reassign female workers after animal studies reveal

PFAS damages the eyes of the developing fetus.

    h.     1983 – 3 M identifies PFAS’ potential harm to the immune system as a

cause for concern.

    i.     1989 – 3M study finds elevated cancer rates among PFAS workers.

    j.     1997 – DuPont study finds heightened cancer rates among workers at the

Parkersburg plant.

                                                                                   Page 18
     2:21-cv-02352-RMG         Date Filed 03/15/21             Entry Number 1      Page 19 of 44




    k.      A 1997 material safety data sheet (“MSDS”) for a product made by 3M listed

its only ingredients as water, PFOA, and other per-fluoroalkyl substances and warned that

the product includes “a chemical which can cause cancer.” The MSDS cited “1983 and

1993 studies conducted jointly by 3M and DuPont” as support for this statement.

    l.      1998 – 3M provides EPA evidence that PFAS accumulates in blood.

    m.      1998 – the EPA began investigating the safety of PFAS chemicals after the

limited disclosure by 3M.

    n.      1998 – 3M animal study finds liver damage from PFAS exposure.

    o.      2003 – 3M conducts a mortality study of its workers exposed to PFOS (closely

related to PFAS) and reported excess bladder cancer incidence with high exposure jobs.

    p.      2005 – the U.S. Department of Health and Human Services found that “human

exposure to PFOA and PFOS lead to the buildup of these chemicals in the body.”

    q.      2009 – 3M performed a follow-up study of its workers who were exposed and

an increase in prostate case incidence was reported.

    r.      2009 – EPA issued Provisional Health Advisories for PFOA and PFOS, advising that

“action should be taken to reduce exposure” to drinking water containing levels of PFOA and

PFOS     exceeding   400    parts   per   trillion   (“ppt”)    and   200   ppt,   respectively.   (See

https://www.epa.gov/sites/production/files/2015-09/documents/pfoa-pfos-provisional.pdf)

    s.      2015 – The “Madrid Statement on Poly- and Perfluoroalkyl Substances

(PFAS’s)” was issued by scientists and other professionals from a variety of disciplines

which called for greater regulation, restriction, and limits on the manufacture and

production of productions containing PFAS chemicals and called to develop safer

alternatives to these products to avoid long-term harm to human health. (See Arlene

                                                                                               Page 19
        2:21-cv-02352-RMG         Date Filed 03/15/21     Entry Number 1       Page 20 of 44




Blum, Simona A. Balan, Martin Scheringer, Xenia Trier, Gretta Goldenman, Ian T. Cousins,

Miriam Diamond, Tony Fletcher, Christopher Higgins, Avery E. Lindeman, Graham Peaslee, Pim

de Voogt, Zhanyun Wang, and Roland Weber. The Madrid Statement on Poly- and Perfluoroalkyl

Substances (PFAS’s). Environ Health Perspect 123:A107-A111).

        59.    In February 2020, the EPA issued its PFAS action plan designed to curb the

ha r m ful      e ffe c ts   of   PFAS.     The    a c ti o n   p la n   can   be   fo und     at

https://www.epa.gov/sites/production/files/2020-01/documents/pfas_action_plan_feb20

20.pdf.

        60.    The administrator of the EPA stated as follows:

        Last year, the U.S. Environmental Protection Agency (EPA) issued the first-
        ever PFAS Action Plan—a historic step in our nation’s efforts to address per-
        and polyfluoroalkyl substances (PFAS) in the environment. The Action Plan
        represented a number of important firsts for the agency. It was the first time we
        have used all of our program offices to deal with an emerging chemical of
        concern. It was also the first time the agency had put together a multi-media,
        multi-program national research and risk communication plan to address a
        challenge like PFAS.

(Id.)

        61.    PFAS can remain in the environment for many years. PFAS can move through

the soil and into groundwater, or be carried in air and inhaled. Human studies show

associations between increased PFAS levels in blood and an increased risk of severe

health effects, including effects on the liver, the immune system, high cholesterol levels,

increased risk of high blood pressure, changes in thyroid hormone, ulcerative colitis

(autoimmune disease), pre-eclampsia (a complication of pregnancy that includes high

blood pressure), and kidney and testicular cancer.




                                                                                        Page 20
    2:21-cv-02352-RMG        Date Filed 03/15/21     Entry Number 1     Page 21 of 44




    62.    These injuries can arise months or years after exposure to PFAS.

    63.    PFAS's extreme persistence in the environment and its toxicity, mobility, and

bioaccumulation potential, pose potential adverse effects to human health and the

environment.

Signicant PFAS Foam Was Used During the ITC Fire

    64.    Aqueous Fire Fighting Foam (“AFFF”) is a Class-B fire fighting foam that is mixed

with water and is used to extinguish fires that are difficult to fight, including those

involving hydrocarbon fuels such as petroleum or other flammable liquids.

    65.    AFFF is synthetically formed by combing fluorine free hydrocarbon foaming

agents with surfactants. When mixed with water, the resulting solution produces an

aqueous film that spreads across the surface of hydrocarbon fuel. This film provides fire

extinguishment and is the source of the designation of “aqueous film forming foam.”

    66.    By at least the end of the 1990s, additional research and testing indicated

that chemicals from PFAS can cause Lydig cell (testicular) cancer, liver cancer, and

pancreatic cancer.

    67.    Nevertheless, the Foam Defendants voluntarily elected to manufacture

firefighting foam with such PFAS chemicals, including PFOAs and PFOS.

    68.    The Foam Defendants knew or should have known that PFAS chemicals

present significant risks to human health and welfare.

    69.    Yet, the Foam Defendants manufactured, marketed, and sold their AFFF

with knowledge that they contained PFAS chemicals that when released would lead to

dangers and harmful effects on human health.



                                                                                   Page 21
     2:21-cv-02352-RMG        Date Filed 03/15/21     Entry Number 1       Page 22 of 44




    70.    Moreover, the instructions, labels, and material safety data sheets provided with

the AFFF manufactured, marketed, and sold by the Foam Defendants did not fully

describe the health and environmental hazards of AFFF which the Foam Defendants knew

or should have known at the time of manufacture or distribution.

    71.    Upon information and belief, the Foam Defendants knew of the health and

environmental hazards for years and yet failed to warn consumers and the public of the

dangerous effects of PFAS chemicals.

    72.    Plaintiff was never told by the Foam Defendants of the health risks and

hazards of using the Foam Defendants’ AFFF.

    73.    Federal law imposes a duty on chemical manufacturers and distributors

to immediately notify the Environmental Protection Agency if they have information that

“reasonably supports the conclusion that such substance or mixture presents a

substantial risk of injury to health or the environment.” Toxic Substances Control Act

(“TSCA”) § 8(e), 15 U.S.C. § 2607(e). The Foam Defendants have not complied with this

duty. The Foam Defendants knew or should have known that their AFFF containing PFAS

chemicals, including PFOA or PFOS, would very likely injure and/or threaten the health of

others.

    74.    On information and belief, this knowledge was made available to the Foam

Defendants. In 1970, a firefighting trade association was alerted to the toxic effects on fish

of PFAS chemicals. Defendants Ansul, Chemguard, and National Foam were members

of this trade association.

    75.    Nevertheless, the Foam Defendants continued to manufacture AFFF

containing PFAS chemicals, including PFOA and PFOS. The AFFF used to combat the

                                                                                      Page 22
     2:21-cv-02352-RMG        Date Filed 03/15/21    Entry Number 1      Page 23 of 44




ITC fire that was manufactured by the Foam Defendants contained PFAS chemicals,

including PFOA and PFOS.

    76.      From March 17 to April 2019, significant amounts of AFFF containing PFAS

chemicals was used. For example, Ansulite 3% AFFF, which contains Polyfluorinated

alkyl betaine – a type of PFAS chemical – was used. Additionally, Thunderstorm W813A

1X3 AR- AFFF was used. This foam includes Polyfluorinated alkyl polyamide,

Polyfluorinated alkyl betaine, and Polyfluorinated alkyl quaternary amine chloride – each

of which is a type of PFAS chemical. Also, Chemgaurd Ultraguard 3% AR-AFFF was

used. This foam includes Fluorosurfatcant, which is a type of PFAS chemical. Further,

Universal Gold 1%/3% Alcohol was used. This foam contains Fluoroalkyl Surfactants,

which is a type of PFAS chemical. Moreover, Dwight P. Williams Signature Series 1% x

3% foam was used. This contains a mixture of Fluorosurfactants – which are a type of

PFAS chemical.

    77.      The AFFF that was used during the ITC fire, includes but is not limited to the

following:

 FOAM NAME                         MANUFACTURER                PFAS CHEMICAL

 Ansulite 3% AFFF (AFC38)          Tyco Fire Products, LP &    Polyfluorinated alkyl betaine

                                   The Ansul Company

 Dwight P Williams Signature       US Fire Pump Company, Fluorosurfactants
                                   LLC
 Series 1% x 3%




                                                                                    Page 23
     2:21-cv-02352-RMG          Date Filed 03/15/21   Entry Number 1      Page 24 of 44




 Thurderstorm     W813A 1X3 Tyco Fire Products, LP & Polyfluorinated                alkyl

 AR-AFFF                           Williams Fire & Hazard polyamide

                                   Control                      Polyfluorinated alkyl betaine
                                                                Polyfluorinated     alkyl

                                                                quaternary amine chloride

 Chemguard         Ultraguard      Chemguard, Inc.              Fluorosurfactant

 3%/AR-AFFF

 Universal    Gold 1 % / 3 % National           Foam ,   Inc., Fluoroalkyl Surfactnats
                             Kidde-
 Alcohol
                                   Fenwal, Inc., & Kidde Fire

                                   Fighting, Inc.




       78.    The foam identified above was added approximately three times every four

hours at a rate of 180,000 gallons of foam per foaming operating until the fire was

suppressed on March 23, 2019. After the fire was suppressed at least another 460,000

gallons of foam was applied to prevent the fire from reigniting.

       79.    The AFFF from the fire fighting operations was found in residential yards

around the ITC facility, in the Houston Ship Channel, San Jacinto river and other locations

in Southeast Harris County.

       80.    In fact, harmful levels of PFOS, PFOA, and PFBS (each of which is derived

from the AFFF used to suppress the ITC fire) were detected in the soil and surface water

in southeast Harris County following the ITC fire. For instance, the water in Burnet Park in

Baytown, Texas was found to contain PFOS at 200 ng/L (ppt) on April 11, 2019.


                                                                                     Page 24
    2:21-cv-02352-RMG         Date Filed 03/15/21    Entry Number 1   Page 25 of 44




       81.    The Foam Defendants each manufactured AFFF containing PFAS, including

PFOA and PFOS, for sale and use to suppress the ITC fire. At all material times, the Foam

Defendants were responsible for the design, manufacture, and sale of thousands of gallons

of AFFF used during the ITC fire.

       82.    The AFFF was expected to and did reach not only the first responders

combatting the ITC fire, but also the residents of the surrounding communities, in

conditions reasonably expected to occur after normal use during fire fighting operations

and without substantial change in the condition in which the Foam Defendants

manufactured and sold it.

       83.    The instructions, warning labels, and material safety data sheets from the

Foam Defendants provided with the AFFF did not reasonably or adequately describe the

health hazards of AFFF that the Foam Defendants knew or should have known, including

the risks of PFAS chemicals on the human body.

       84.    Nevertheless, the Foam Defendants manufactured, marketed, and sold their

AFFF with the knowledge that PFAS chemicals, including PFOS and PFOA, would be

released into the environment during firefighting operations.

       85.    The Foam Defendants knew of the health risks and yet failed to warn or

take reasonable steps to ensure that their products were safe.

       86.    The AFFF used in the ITC fire, on information and beliefs, was spread to

the communities of Deer Park Pasadena, Sheldon, Channelview, Galena Park, Jacinto

City and the neighboring communities of southeast Houston. The residents in these

communities breathed and ingested the AFFF containing harmful PFAS chemicals.



                                                                                Page 25
     2:21-cv-02352-RMG         Date Filed 03/15/21      Entry Number 1      Page 26 of 44




        87.    The first responders who responded to the ITC fire used the AFFF in their

firefighting efforts. It has been alleged that they breathed and ingested the AFFF while

performing their duties in spraying the AFFF for hours each day.

        88.    It has been alleged that the first respondents and the residents of Deer

Park, Pasadena, Sheldon, Channelview, Galena Park, Jacinto City and neighboring

communities of southeast Houston were unaware of the health risks and hazards from

the Foam Defendants’ AFFF. Plaintiff was certaintly unaware.

        89.    ITC supplied and provided the AFFF that contains the harmful PFAS

chemicals to the first responders, for use during the fire. On information and belief, ITC

knew of the harmful and dangerous effects of the Foam Defendants’ AFFF and yet, failed

to warn Plaintiff and residents similarily situated. Instead, ITC continued to allow the first

responders to use the AFFF during the fire and fire fighting operations at issue, resulting

in injuries.

        90.    As a direct and proximate result of this failure to warn, the PFAS chemicals

from the AFFF were permitted to enter the air and probably came in contact with the

Plaintiff and those similarly situated. As such, harmful PFAS chemicals are probably now

in Plaintiff’s and those similary situated bodies affecting their health.

Plaintiff Has Been Harmed From the ITC Fire

        91.    Plaintiff resdied at the time of the incident in question, near but just east of

the intersection of Sam Houston Tollway and IH 45, with in approximately 2 miles from

the western border of Pasadena, Texas.




                                                                                       Page 26
     2:21-cv-02352-RMG         Date Filed 03/15/21      Entry Number 1      Page 27 of 44




       92.     Plaintiff, as a result of the referenced expourse, came under the care

of Dr. Maynak Patel for treatment. She has since come under the care of Dr. Nina

Zatikyan, M.D. for continued treatments. She has had what she refers to as

breathing treatments, steroids, and inhalers. Plaintiff has been to the emergency

room at Methodist Hospital in Webster, Texas approximately 3 or 4 times for

breathing    difficulty episodes.     She    is   currently being     monitored   for these

continued breathing issues by her doctor. And, Plaintiff is and continues to be on

medication as a result of these breathing issues.

       93.     Thus, Plaintiff, too came in contact with and inhaled and/or ingested

the smoke and toxic burned residue, ash, fumes and burned oil, gas, tolvene,

xylene, and naphtha chemicals along with the AFFF manufactured by the Foam

Defendants.She      too   experienced     physical injuries,   such    as    burning    eyes,

coughing, difficulty breathing, and other similar injuries.

       94.     The smoke and toxic burned residue, ash, fumes and burned oil, gas, and

other chemicals along with PFAS chemicals released during the ITC fire went into the air

and was inhaled by Plaintiff for at least one week. As a result, Plaintiff has suffered

exposure and bioaccumulation of the PFAS chemicals in her blood. Plaintiff seeks

recovery from all Defendants for the injuries, damages, and losses suffered in an amount

to be determined at trial, to include physical pain, mental anguish, physical impairment

and medical expenses, past and future.

                                        CAUSATION

       95.     Plaintiff incorporates all factual allegations made above.

       96.     Defendant ITC caused the fire due to its unlawful conduct described in

                                                                                       Page 27
     2:21-cv-02352-RMG        Date Filed 03/15/21    Entry Number 1      Page 28 of 44




this Complaint.

        97.    The NSK Defendants and Applied also caused the fired as a result of their

unlawful conduct described in this Complaint.

        98.    Each of the Foam Defendants manufactured, sold, and supplied harmful

AFFF which was used to suppress the ITC fire. Each of the Foam Defendants’ AFFF was

inhaled and/or ingested by the Plaintiffs and Class Members and each of the Foam

Defendants’ AFFF caused the injuries described in this Complaint.

        99.    Therefore, each of the acts and omissions described in this Complaint on

the part of Defendants, taken separately and/or collectively, constitute a direct and

proximate cause of Plaintiff's injuries and damages set forth.

        100.   The amount of each Defendant’s respective share of liability shall be

determined by the jury.

                                MEDICAL MONITORING

        101.   As a result of Plaintiff’s exposure to proven hazardous substances released

into the environment by Defendants, Plaintiff is, in reasonable probability, at an increased

risk of contracting serious latent diseases proximately caused by their exposure to the

chemicals. Plaintiff’s increased risk justifies reasonable and necessary periodic medical

examinations which would make early detection and treatment possible and beneficial to

Plaintiff.

                                  CAUSES OF ACTION

                                         COUNT I

                  NEGLIGENCE AND GROSS NEGLIGENCE OF ITC



                                                                                    Page 28
     2:21-cv-02352-RMG        Date Filed 03/15/21    Entry Number 1       Page 29 of 44




       102.   Plaintiff incorporates by reference all preceding paragraphs as if fully stated

herein and further states as follows:

       103.   The acts and omissions of ITC constitute negligence and gross negligence,

and separately and concurrently were a proximate cause of the incident upon which this

suit is based, and of the injuries and damages suffered and sustained by Plaintiff. The

negligent acts and omissions of ITC include the following:

       a.     ITC failed to maintain equipment, including the Tank 80-8 manifold and
              seals;

       b.     ITC failed to have in place a fixed foam fire suppression system for fire
              prevention, control or direct extinguishment of any flammable or combustible
              liquid fire within their tanks;

       c.     ITC failed to have access to dry chemical and/or foam fire suppression
              materials to extinguish the fire after it started;

       d.     ITC failed to adequately train workers regarding the hazards of injecting
              butane into tank manifolds;

       e.     ITC failed to use ordinary care in developing and implementing a safety and
              fire prevention program;

       f.     ITC failed to supervise and train workers to ensure that any safety guidelines
              in place would be enforced to protect against leaks when injecting butane
              into tank manifolds;

       g.     ITC caused and permitted the release of volatile organic/inorganic
              compounds and chemicals resulting in a continuous toxic cloud over La
              Porte, Deer Park and other parts of Harris County, Texas; and

       h.     ITC failed to use ordinary care in monitoring the release of air contaminants
              and providing adequate warnings to the community of the release of volatile
              organic/inorganic compounds and chemicals, including benzene and PFAS
              chemicals.

       104.   Each of the foregoing acts and omissions, when taken separately or

together, constitute negligence. Such acts were a direct and proximate cause of the


                                                                                     Page 29
     2:21-cv-02352-RMG        Date Filed 03/15/21      Entry Number 1       Page 30 of 44




injuries and damages sustained by Plaintiff.

       105.   The acts or omissions of ITC involved an extreme degree of risk of which

it had actual, subjective awareness of the risk involved, but nevertheless proceeded with

conscious indifference to the rights, safety or welfare of others. Specifically, ITC has a long

history of incidents involving the release of toxic chemicals, as well as citations and fines

from regulatory agencies. Even after these events, at the time of this catastrophic fire, ITC

operated the facility with institutional ignorance or defiance to a culture of safety and

accountability.

       106.   The forgoing actions and inactions of ITC, and/or their respective

employees or agents, whether taken separately or together, were of such a character as

to constitute a pattern or practice of intentional wrongful conduct or malice resulting in the

damages sustained by Plaintiffs and the Class Members. These acts or omissions satisfy

both the objective and subjective elements of gross negligence which is governed by

V.T.C.A., Civil Practice & Remedies Code §§ 41.001(11), 41.003(a). Indeed, ITC had

actual awareness of the extreme degree of risk associated with the release of toxic

chemicals and fires, and nevertheless proceeded with conscious indifference to the rights,

safety, and welfare of Plaintiffs and the Class Members by failing to act to minimize or

eliminate these risks. Therefore, ITC is guilty of gross negligence for which it should be held

liable in punitive and exemplary damages to Plaintiffs and the Class Members.

                                          COUNT II

     PRODUCTS LIABILITY – NSK DEFENDANTS AND DEFENDANT APPLIED

A.     Manufacturing Defect - NSK Defendants.

       107.   Plaintiff incorporates all preceding paragraphs as if fully set forth herein.

                                                                                       Page 30
     2:21-cv-02352-RMG         Date Filed 03/15/21      Entry Number 1       Page 31 of 44




       108.    The NSK Defendants are engaged in the business of manufacturing and

placing into the stream of commerce the NSK 5313 bearings that caused the incident that

is the subject of this litigation. As such, the NSK Defendants are “manufacturer[s]” as that

term is defined by Section 82.011(4) of the Texas Civil Practice & Remedies Code.

       109.    NSK Defendants manufactured the NSK 5313 bearings and placed them

into the stream of commerce with the expectation that those bearings would, and in fact did, reach

the user or consumer without substantial change in the condition in which the bearings

were sold.

       110.    A manufacturing defect exists when a product deviates, in its construction

or quality, from the specifications or planned output in a manner that renders it

unreasonably dangerous.

       111.    The NSK 5313 bearings, at the time they were placed into the stream of

commerce by the NSK Defendants, were in a defective condition unreasonably dangerous

to the end-user. Specifically, while the specification for the NSK 5313 bearings required

that they contain a solid core, the bearings sold to ITC contained internal voids (i.e., they

had a hollow core) of approximately 0.33 inches. These internal voids caused the bearings

to have a smaller diameter than would similar solid-core bearings, as well as an average

mass of only 78% of the inboard bearing balls. This decreased size and mass caused the

NSK 5313 ball bearings to deteriorate more quickly than if they had a solid core, causing

them to fragment and come loose within the bearing.

       112.    This fragmentation caused failure of the outboard               bearing, which

compromised resistance to thrust loading and generated the impeller shaft vibration that

loosened the mechanical shaft seal and allowed the Naphtha to escape.

                                                                                        Page 31
     2:21-cv-02352-RMG        Date Filed 03/15/21      Entry Number 1       Page 32 of 44




       113.   The failure of the outboard bearing, the vibration of the impeller shaft, the

loosening of the mechanical shaft seal, and the release of Naphtha would not have

occurred if the NSK 5313 ball bearings—like their NSK 6313 counterparts—were

manufactured with a solid core in accordance with their design specifications. As such, this

dangerous condition was a proximate cause of the March 17, 2019 explosion at ITC’s Deer

Park Facility and Plaintiff’s injuries and damages.

B.     Design Defect - NSK Defendants.

       114.   Plaintiff incorporates all preceding paragraphs as if fully set forth herein.

       115.   In the alternative, to the extent that the NSK 5313 ball bearings did not deviate

from their design specifications, the NSK Defendants are liable for Plaintiff’s injuries

because the design of the 5313 ball bearings was defective. To recover for a products

liability claim alleging a design defect, a plaintiff must prove that (1) the product was

defectively designed so as to render it unreasonably dangerous; (2) a safer alternative

design existed; and (3) the defect was a producing cause of the injury for which the plaintiff

seeks recovery.

       116.   The NSK Defendants’ design of the NSK Model 5313 ball bearing was

defective because it contained “internal voids” that rendered the bearing unreasonably

dangerous for its intended use. Rather than design the bearing with internal voids, the NSK

Defendants should have utilized the solid-core design found in NSK Model 6313. That this

“solid core” alternative design is safer than the “internal void” design of the NSK 5313 ball

bearing is demonstrated by the fact that the NSK 5313 bearings deteriorated and

fragmented while the solid-core NSK 6313 bearings did not.



                                                                                       Page 32
     2:21-cv-02352-RMG        Date Filed 03/15/21     Entry Number 1      Page 33 of 44




       117.   Similarly, the existence and utilization of the NSK 6313 ball bearings in the

inboard bearing demonstrates that the solid core design is both technologically and

economically feasible.

       118.    The “internal void” design was the producing cause of Plaintiff’s injuries

for the reasons discussed above. As such, the NSK Defendants are liable for Plaintiff's

injuries and damages.

C.     Products Liability Claims Against Defendant Applied

       119.   The allegations contained in the above paragraphs are hereby incorporated

against Defendant Applied.

       120.   Section 82.001(3) of the Texas Civil Practice and Remedies Code defines

“seller” as " a person who is engaged in the business of distributing or otherwise placing,

for any commercial purpose, in the stream of commerce for use or consumption a product

or any component part thereof.”

       121.   As the distributors of the NSK Model 5313 ball bearings that were sold to and

used by ITC, Defendant Applied is a “seller” as defined by the Texas Civil Practice and

Remedies Code.

       122.   Under Section 82.003 of the Texas Civil Practice & Remedies Code, “[a] seller

that did not manufacture a product” may be held liable in a products liability action for any

harm caused by that product under certain circumstances. For example, if “the claimant

proves…(a)(7) that the manufacturer of the product is…not subject to the jurisdiction of the

court,” then the non- manufacturing distributor is liable under Section 82.003(a)(7).

       123.   As such, if the Court is unable to exercise jurisdiction over the NSK

Defendants—or if Plaintiffs prove any other element of Section 82.003—Defendant Applied

                                                                                        Page 33
    2:21-cv-02352-RMG         Date Filed 03/15/21      Entry Number 1       Page 34 of 44




is liable for Plaintiff’s injuries to the full extent that those injuries resulted from NSK’s

defective manufacturing and design of the NSK Model 5313 bearings.

                                          COUNT III

          NEGLIGENCE AND GROSS NEGLIENCE – FOAM DEFENDANTS

       124.   Plaintiff incorporates all preceding paragraphs as if fully set forth herein.

       125.   The Foam Defendants knew or should have known that exposure to PFAS

chemicals, including PFOA and PFOS, was hazardous to human health.

       126.   Given that the Foam Defendants were aware of these chemicals’ potential

for bioaccumulation in humans as well as the links to numerous serious medical conditions,

including cancer, the Foam Defendants knew or should have known that the manner in

which they were manufacturing, marketing, and selling AFFF containing PFAS chemicals

would be hazardous to human health.

       127.   The Foam Defendants knew or should have known that PFAS chemicals are

highly likely to injure others. The Foam Defendants also knew or should have known that

the manner in which they were manufacturing, marketing, and selling AFFF containing

PFAS chemicals would result in first responders using their AFFF.

       128.   In fact, the Foam Defendants marketed and sold their products with

knowledge that AFFF containing PFAS chemicals would be used in firefighting situations.

       129.   Nevertheless, the Foam Defendants marketed and sold their products with

knowledge that AFFF containing toxic PFAS chemicals would create an unreasonable risk

of harm to first responders and the communities in close proximity to the use of the AFFF.

       130.   Knowing of the dangerous and hazardous properties of AFFF, and the



                                                                                       Page 34
     2:21-cv-02352-RMG          Date Filed 03/15/21       Entry Number 1       Page 35 of 44




manner in which AFFF would be used , it was reasonably foreseeable that AFFF would

injure first responders and those individuals living in communities nearby.

       131.    The Foam Defendants therefore knew or should have known that safety

precautions would be required to prevent the release of harmful PFAS chemicals, including

PFOA and PFOS.

       132.    Further, the Foam Defendants should have acted reasonably by not

placing inherently dangerous AFFF into the marketplace.

       133.    Though AFFF is effective at extinguishing otherwise difficult fires, the

potential for widespread and persistent harm and the development of numerous serious

medical conditions far outweighs any social utility gained from AFFF's firefighting ability.

       134.    The magnitude of the burden on the Foam Defendants to guard against

this foreseeable harm to Plaintiff was minimal, as the practical consequences of placing this

burden on the Foam Defendants amounted to providing adequate instructions, proper

labeling, and sufficient warnings about their AFFF products.

       135.    As manufacturers, the Foam Defendants were in the best position to

provide adequate instructions, proper labeling, and sufficient warnings about their AFFF

products.

       136.    Considering the factors related to risk, foreseeability, social utility, the burden

of guarding against the harm, and the practical consequences of placing that burden on

the Foam Defendants, the Foam Defendants owed multiple cognizable duties to Plaintiff.

       137.    The Foam Defendants had a duty not to produce, manufacture, and

place in the stream of commerce products that injure others, like Plaintiff.



                                                                                        Page 35
     2:21-cv-02352-RMG          Date Filed 03/15/21      Entry Number 1     Page 36 of 44




       138.    The Foam Defendants had a duty to warn of the hazards associated with

AFFF containing PFAS chemicals.

       139.    As manufacturers, marketers, and sellers of AFFF, the Foam Defendants

owed Plaintiff a duty to exercise reasonable care to ensure that AFFF was manufactured,

marketed, and sold in such a way that the end users of AFFF were aware of the potential

harm from PFAS, including PFOA and PFOS.

       140.    The Foam Defendants owed Plaintiff a duty to warn and notify them of the

potential hazards of their AFFF before Plaintiff was injured.

       141.    The Foam Defendants breached these duties.

       142.    As a result, the Foam Defendants acted negligently, recklessly, willfully,

wantonly, and/or intentionally and those actions caused the injuries to Plaintiff.

       143.    The Foam Defendants’ breaches of their duties were direct and proximate

causes of the injuries, damages, and harm the Plaintiff has suffered to her health.

       144.    The Plaintiff suffered foreseeable injuries and d amages as a proximate result

of the Foam Defendants’ breach of their duties as set forth above. At the time the Foam

Defendants breached their duties to Plaintiff, the Foam Defendants’ acts and/or failures to

act posed recognizable and foreseeable possibilities of danger to Plaintiff so apparent as

to entitle them to be protected against such actions or inactions.

                                            COUNT IV

                STRICT PRODUCTS LIABILITY – FOAM DEFENDANTS
                             FAILURE TO WARN

       145.    Plaintiff hereby repeats, realleges, and reiterates each and every allegation

in the preceding paragraphs as if fully restated herein.


                                                                                      Page 36
     2:21-cv-02352-RMG        Date Filed 03/15/21   Entry Number 1     Page 37 of 44




       146.   As commercial manufacturers, sellers, and distributors of AFFF, the Foam

Defendants knew or should have known that exposure to PFAS chemicals, including

PFOA and PFOS, was hazardous to human health.

       147.   The Foam Defendants knew or should have known that the manner in which

they were manufacturing, marketing, and selling AFFF containing PFAS was hazardous

to human health.

       148.   The Foam Defendants knew or should have known that the manner in which

they were manufacturing, marketing, and selling AFFF would result in others, including

first responders, being physically harmed.

       149.   AFFF's persistence, mobility, bioaccumulative potential, and the medical and

scientific link between PFAS chemicals and numerous serious medical conditions should

have alerted the Foam Defendants to warn others.

       150.   Though the Foam Defendants knew or should have known about the

seriousness of the consequences of failing to warn about the inherent dangers associated

with AFFF containing PFAS, the Foam Defendants failed to warn of the dangers inherent

in the use of the product.

       151.   Though the Foam Defendants knew or should have known about the

reasonably foreseeable hazards to human health and welfare associated with the use of

AFFF containing PFAS by first responders and the communities within close proximity to

major fires that were suppressed by the use of AFFF containing PFAS, The Foam

Defendants failed to provide adequate warnings of, or take any precautionary measures

to mitigate, those hazards.



                                                                                 Page 37
     2:21-cv-02352-RMG          Date Filed 03/15/21        Entry Number 1   Page 38 of 44




          152.   The Foam Defendants failed to provide sufficient warning that the use of

AFFF containing PFAS would cause the product to, in all reasonable probability, harm

others.

          153.   Adequate instructions and warnings on the AFFF products could have

reduced or avoided these foreseeable risks of harm to Plaintiff.

          154.   Had the Foam Defendants provided adequate warnings, Plaintiff could have

taken measures to avoid or lessen her exposure.

          155.   The Foam Defendants’ failure to provide adequate and sufficient warnings

for the AFFF that they manufactured, marketed, and sold renders the AFFF a defective

product.

          156.   The Foam Defendants’ failure to warn was a direct and proximate cause

of the injuries Plaintiff.

          157.   As a result of the Foam Defendants’ conduct, Plaintiffhave been injured in

that has exposure to PFAS, including PFOA and PFOS, has produced an increased level

of such toxins in blood stream, leading to the bioaccumulation of PFAS in human bodies

and significantly increasing her risk of developing numerous serious medical conditions.

          158.   As a result of the Foam Defendants manufacture, sale, or distribution of a

defective product, the Foam Defendants are strictly liable in damages to Plaintiff.

          159.   The Foam Defendants' acts were willful, wanton, reckless and/or conducted

with a reckless indifference to the rights of Plaintiff.

                                        COUNT V
                             STRICT PRODUCTS LIABILITY – FOAM
                               DEFENDANTS DESIGN DEFECT



                                                                                      Page 38
     2:21-cv-02352-RMG         Date Filed 03/15/21     Entry Number 1       Page 39 of 44




          160.   Plaintiff hereby repeats, realleges,      and reiterates each and e ve r y

allegation in the preceding paragraphs as if fully restated herein.

          161.   By virtue of manufacturing, marketing, and selling AFFF containing PFAS

chemicals, including PFOA and PFOS, the Foam Defendants had a strict duty not to

place an unreasonably dangerous product into the stream of commerce that would injure

others.

          162.   The Foam Defendants knew or should have known that exposure to PFAS

chemicals, including PFOA and PFOS, was hazardous to human health when it, or

products containing it, were used in their foreseeable and intended manner.

          163.   The chemical makeup of the AFFF that they produced includes significant

amounts of PFAS, including PFOA and PFOS, rendering the AFFF unreasonably

dangerous.

          164.   Knowing of the dangerous and hazardous properties of AFFF due to

research and testing, the Foam Defendants could have manufactured, marketed, and sold

alternative designs or formulations of AFFF that did not contain PFAS, PFOA or PFOS.

          165.   These alternative designs and/or formulations were already available,

practical, and technologically feasible.

          166.   The use of these alternative designs would have reduced or prevented the

reasonably foreseeable harm to Plaintiff resulting from the Foam Defendants’

manufacture, marketing, and sale of AFFF.

          167.   As manufacturers of AFFF, the Foam Defendants not only had the ability to

alter their product in such a way that maintained the firefighting abilities of the product while

eliminating its inherently unsafe character, but also were in the best position to do so.

                                                                                        Page 39
     2:21-cv-02352-RMG          Date Filed 03/15/21        Entry Number 1   Page 40 of 44




       168.    The link between PFAS chemicals and numerous serious medical conditions

are not open and obvious conditions or part of general public knowledge of using AFFF.

       169.    Therefore, even though AFFF is useful for fighting difficult fires, the inherent

risks associated with its use far outweigh any firefighting benefits, thereby rendering

AFFF unreasonably dangerous.

       170.    The manufacture, sale, and distribution of unreasonably dangerous AFFF

renders the Foam Defendants’ AFFF products defective.

       171.    The Foam Defendants’ defective design and formulation of AFFF is the direct

and proximate cause of the injuries to Plaintiff.

       172.    As a direct result of the Foam Defendants’ design and formulation of their

AFFF, Plaintiff has been injured in that her exposure to PFAS, including PFOA and PFOS,

has produced an increased level of such toxins in blood stream, leading to the

bioaccumulation of PFAS in human bodies and significantly increasing their risk of

developing numerous serious medical conditions.

       173.    As a result of the Foam Defendants manufacture, sale, or distribution of a

defective product, the Foam Defendants are strictly liable in damages to Plaintiff.

       174.    The Foam Defendants’ acts were willful, wanton, reckless and/or conducted

with a reckless indifference to the rights of Plaintiff.

               CLAIM FOR MEDICAL MONITORING – ALL DEFENDANTS

       175.    Plaintiff hereby repeats, realleges, and reiterates each and every allegation

in the preceding paragraphs as if fully restated herein.

       176.    Medical monitoring is especially appropriate in this case because the Plaintiff



                                                                                      Page 40
     2:21-cv-02352-RMG        Date Filed 03/15/21     Entry Number 1    Page 41 of 44




and numerous others simlarlyu situated (1) had significant exposure to a hazardous substance

through the tortious actions of Defendants as described in this Complaint; (2) have an

increased risk of contracting a serious latent disease from the exposure to the hazardous

substances described in this Complaint; (3) the increased risk makes periodic diagnostic

medical examinations reasonably necessary; and (4) procedures exist which make the

early detection and treatment of disease possible and beneficial.

       177.   The Plaintiff has been exposed to hazardous PFAS chemicals, including

PFOA and PFOS, and other toxic substances that were released following the ITC fire.

       178.   As described more fully above in this Complaint, PFAS exposures,

including PFOA and PFOS exposure, seriously increase the risk of contracting numerous

diseases.

       179.   The significantly increased risks associated with exposure to PFAS,

including PFOS and PFOA, make periodic diagnostic medical examinations reasonable

and necessary.

       180.   A thorough medical monitoring plan can and should be developed for the

Plaintiff that will assist in the early detection and beneficial treatment of the numerous

diseases that can develop as a result of exposure to PFAS chemicals.

                 CLAIM FOR PUNITIVE DAMAGES – ALL DEFENDANTS

       181.   Plaintiff hereby repeats, realleges, and reiterates each and every allegation

in the preceding paragraphs as if fully restated herein.

       182.   Upon information and belief, Defendants engaged in willful, wanton,

malicious, and or/reckless conduct that was done without regard to the consequences



                                                                                   Page 41
     2:21-cv-02352-RMG          Date Filed 03/15/21    Entry Number 1      Page 42 of 44




or the safety of the Plaintiff and others similarly situated which caused the injuries

described in this Complaint.

        183.   Defendants’ acts or omissions, which when viewed objectively from the

standpoint of Defendants at the time of occurrence, involved an extreme degree of risk,

considering the probability and magnitude of the potential harm to others. Defendants had

actual, subjective awareness of the risk involved in the above described acts or omissions,

but nevertheless proceeded with conscious indifference to the rights, safety, or welfare of

Plaintiff and others similarily situated.

        184.   For that reason, Plaintiff seeks punitive damages.

                                     DAMAGES SOUGHT

   185. Plaintiff incorporates all factual allegations made above.

   186. As a direct and proximate result of the occurrence made the basis of this

lawsuit, Plaintiff was caused to suffer permanent injury.

   187. Plaintiff seeks the following:

   a.      Establishing and funding a medical monitoring program, at Defendants’ expense,

to notify the Plaintiff and those similarily situated of the dangers of the chemicals that were

released into the air, and to monitor and test the health of each Plaintiff and those similarily

situated for future health risks, including cancer;

   b. Establishing a common fund on behalf of Plaintiff and those similarily situated so as

to distribute any and all funds necessary to reimburse them for their medical expenses,

treatments, and economic losses;

   c. Plaintiff’s past and future medical expenses;

   d. Plaintiff's past and future physical pain, mental anguish and physical

                                                                                      Page 42
     2:21-cv-02352-RMG            Date Filed 03/15/21    Entry Number 1       Page 43 of 44




impairement;

   e. Punitive damages; and

   f. Judgment against Defendants in the full amount awarded by the jury in an amount in

excess of the minimum jurisdiction requirements in this case.


                                     JURY TRIAL DEMAND

   188. Plaintiff hereby demand a trial by jury of any and all issues in this matter so triable

pursuant to Federal Rules of Civil Procedure 38(b).

                                             PRAYER

   189. Plaintiff demands judgment against Defendants, and each of them, jointly and

severally, and request the following relief from the Court:

   A.      A declaration and judgment that Defendants acted with negligence, gross

           negligence, and/or willful, wanton, and careless disregard for the health, safety,

           and property of Plaintiff;

   B.      An order establishing a medical monitoring protocol for Plaintiff and these

           simularily situated;

   C.      An award to Plaintiff of general, compensatory, exemplary, consequential,

           nominal, and punitive damages;

   D.      An award of pre-judgment and post-judgment interest as provided by law, and

   E.      An order for an award of attorney fees and costs, as provided by law; and

   F.      An order for all such other relief that the court deems just and proper.

                                                Respectfully submitted,
                                                LAW OFFICES OF GENE S. HAGOOD
                                                1520 E. Highway 6
                                                Alvin, Texas 77511

                                                                                          Page 43
    2:21-cv-02352-RMG    Date Filed 03/15/21   Entry Number 1   Page 44 of 44




                                      (281)331-5757
                                      Fax: (281)331-1105
                                      *E-Service Email: firm@h-nlaw.com


                                      BY: /s/ Gene S. Hagood
                                         GENE S. HAGOOD, Attorney in Charge
                                         SBN #08698400, FBN #3475
                                         RYAN KING, Of Counsel
                                         SBN #24073263, FBN #1114926
                                         Attorneys for Plaintiff

*E-SERVED DOCUMENTS ARE ONLY ACCEPTED AT TH E ABOVE DESIGNATED E-SERVICE EMAIL
ADDRESS. SERVICE ON ANY OTHER EMAIL ADDRESS WILL BE CONSIDERED INVALID.




                                                                          Page 44
